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  7                                UNITED STATES DISTRICT COURT
  8                           SOUTHERN DISTRICT OF CALIFORNIA
  9                                  (HON. JEFFREY T. MILLER)
 10   UNITED STATES OF AMERICA,                   )        Case No.09CR01597-JM
                                                  )
 11          Plaintiff,                           )        ORDER TO CONTINUE
                                                  )        SENTENCING HEARING
 12   v.                                          )
                                                  )
 13   DENNIS SCOTT WILSON; BRAD                   )
      SCOTT WILSON; MELANIE WILSON;               )        Current Date: October 30, 2009
 14   and ROBIN WILSON,                           )        New Date:     December 18, 2009
                                                  )        Time:         9:00 a.m.
 15                  Defendants.                  )
                                                  )
 16
 17          Based upon the stipulation between the parties, and good cause appearing, IT IS HEREBY
 18   ORDERED that the sentencing hearings for co-defendants DENNIS SCOTT WILSON and BRAD
 19   SCOTT WILSON, currently scheduled for October 30, 2009, are hereby continued to 9:00 a.m. on
 20   December 18, 2009. No later than November 13, 2009, defense counsel with clients on bond shall
 21   file an acknowledgment of the next court date.
 22          On the Court’s own motion, the Status Conferences currently scheduled for co-defendants
 23   MELANIE WILSON and ROBIN WILSON are also be continued to December 18, 2009 at
 24   9:00 a.m.
 25          IT IS SO ORDERED.
 26   DATED: October 23, 2009
 27
                                                       Hon. Jeffrey T. Miller
 28                                                    United States District Judge
